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                      UNITED STATES DISTRICT COURT

                     WESTERN DISTRICT OF LOUISIANA

                              LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                      ACTION NO. 6:15-cr-252-01

 VERSUS                                        JUDGE MINALDI

 JERMEY DAVID HAMLETT (01)                     MAGISTRATE JUDGE HANNA

                  REPORT AND RECOMMENDATION
                      ON FELONY GUILTY PLEA
            BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to Title 28, United States Code, Section 636(b), and with the written

 and oral consent of the defendant, this matter has been referred by the District Court

 for administration of Guilty Plea and Allocution under Rule 11 of the Federal Rules

 of Criminal Procedure.

       This cause came before the undersigned United States Magistrate Judge for a

 change-of-plea hearing and allocution of the defendant, Jermey David Hamlett, on

 April 19, 2016. The defendant was present with his counsel Cristie Gautreaux

 Gibbens.

       After the hearing and for the reasons orally assigned, the undersigned finds that

 the defendant is fully competent, that his guilty plea is knowing and voluntary, and

 that his guilty plea to Count One of the Indictment is fully supported by a written

 factual basis for each of the essential elements of the offense.
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       Therefore, the undersigned United States Magistrate Judge recommends that

 the District Court ACCEPT the guilty plea of the defendant, Jermey David Hamlett,

 in accordance with the terms of the plea agreement filed in the record of these

 proceedings, and that Jermey David Hamlett be finally adjudged guilty of the offense

 charged in Count One of the Indictment.

       The defendant waived the fourteen day period within which to file written

 objections to this Report and Recommendation. Accordingly, the District Court may

 immediately adopt this Report and Recommendation, thereby accepting the

 defendant's guilty plea.

       THUS DONE AND SIGNED in chambers in Lafayette, Louisiana, on this the

  2nd day of May, 2016.


                                       ____________________________________
                                       PATRICK J. HANNA
                                       UNITED STATES MAGISTRATE JUDGE




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